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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )               CASE NO. 8:12CR282
                                             )
             Plaintiff,                      )
                                             )                    ORDER
             vs.                             )
                                             )
ADRIAN PISARES-VALENZUELA,                   )
                                             )
             Defendant.                      )


      This matter is before the Court on the government’s Motion For Dismissal of Counts

(Filing No. 416).    Under Federal Rule of Criminal Procedure 48(a), leave of court is

granted for the dismissal of Counts II and VI of the Superseding Indictment, without

prejudice, against the above-named Defendant.

      IT IS ORDERED:

             1.      The government’s Motion For Dismissal of Counts (Filing No. 416) is

      granted; and

             2.      Counts II and VI of of the Superseding Indictment against Defendant

      Adrian Pisares-Valenzuela are dismissed.


      DATED this 24th day of July, 2013.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 Chief United States District Judge
